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Exhibit 5 to Exhibit A

[Wrong Debtor, Modify Amount and Modify Classification Claims]
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ENERGY FUTURE HOLDINGS CORP, et al.

TWENTY-THIRD OMNIBUS (SUBSTANTIVE): EXHIBIT 5 TO EXHIBIT A - Wrong Debtor, Modify Amount and Modify Classification Claims

ASSERTED MODIFIED
CLASSIFICATION CLAIM CLASSIFICATION CLAIM
NAME CLAIM # DEBTOR STATUS AMOUNT DEBTOR STATUS AMOUNT
1 BARSCO INC 7616 Energy Future Holdings Secured Undetermined* | Luminant Generation Unsecured $8,140.94

PO BOX 460 Corp. Company LLC
ADDISON, TX 75001- Energy Future Holdings | Unsecured $8,140.94*
0460 Corp.

Subtotal $8,140.94"

REASON FOR MODIFICATION: Modified Debtor reflects the Debtor(s) against which the claim is properly asserted according to the Debtors' books and records. Modified amount
reflects liquidation of claim to reflect the amount owed according to Debtors' books and records. Modified classification reflects no evidence of perfected lien or security interest

provided.

TOTAL $8,140.94* TOTAL $8,140.94

* - Indicates claim contains unliquidated and/or undetermined amounts Page 1 of 1
